Case 2:22-cv-01353-JWH-RAO Document 1 Filed 02/28/22 Page 1 of 10 Page ID #:1




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       Attorney(s) for Digital Verification Systems, LLC
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   7
                       IN THE UNITED STATES DISTRICT COURT
   8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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        DIGITAL VERIFICATION
        SYSTEMS, LLC,                                 CASE NO. 2:22-cv-01353
  11
                           Plaintiff,                 PATENT CASE
  12
        v.                                            JURY TRIAL DEMANDED
  13
        DOCMAGIC, INC.,
  14                                                  COMPLAINT
  15                       Defendant.
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             Plaintiff Digital Verification Systems, LLC (“Plaintiff” and/or “DVS”) files
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       this Complaint against DocMagic, Inc. (“Defendant” or “DocMagic”) for
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       infringement of United States Patent No. 9,054,860 (hereinafter “the ‘860 Patent”).
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                                PARTIES AND JURISDICTION
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             1.     This is an action for patent infringement under Title 35 of the United
  22
       States Code. Plaintiff is seeking injunctive relief as well as damages.
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             2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
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       (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
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       infringement arising under the United States patent statutes.
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             3.     Plaintiff is a Texas limited liability company with an address of 1 East
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       Broward Boulevard, Suite 700, Fort Lauderdale, FL 33301.
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                                  COMPLAINT AGAINST DOCMAGIC, INC.
Case 2:22-cv-01353-JWH-RAO Document 1 Filed 02/28/22 Page 2 of 10 Page ID #:2




   1          4.     On information and belief, Defendant is a California corporation with its
   2   principal office located at 1800 West 213th Street, Torrance, CA 90501. On
   3   information and belief, Defendant may be served through its agent, Registered
   4   Agents, Inc., 1401 21st St., Suite R, Sacramento, CA 95811.
   5          5.     On information and belief, this Court has personal jurisdiction over
   6   Defendant because Defendant has committed, and continues to commit, acts of
   7   infringement in this District, has conducted business in this District, and/or has
   8   engaged in continuous and systematic activities in this District.
   9          6.     On information and belief, Defendant’s instrumentalities that are alleged
  10   herein to infringe were and continue to be used, imported, offered for sale, and/or sold
  11   in this District.
  12                                           VENUE
  13          7.     On information and belief, venue is proper in this District under 28
  14   U.S.C. § 1400(b) because Defendant is deemed to reside in this District. Alternatively,
  15   acts of infringement are occurring in this District and Defendant has a regular and
  16   established place of business in this District.
  17                                          COUNT I
  18         (INFRINGEMENT OF UNITED STATES PATENT NO. 9,054,860)
  19          8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.
  20          9.     This cause of action arises under the patent laws of the United States
  21   and, in particular, under 35 U.S.C. §§ 271, et seq.
  22          10.    Plaintiff is the owner by assignment of the ‘860 Patent with sole rights
  23   to enforce the ‘860 Patent and sue infringers.
  24          11.    A copy of the ‘860 Patent, titled “Digital Verified Identification System
  25   and Method,” is attached hereto as Exhibit A.
  26          12.    The ‘860 Patent is valid, enforceable, and was duly issued in full
  27   compliance with Title 35 of the United States Code.
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                                   COMPLAINT AGAINST DOCMAGIC, INC.
Case 2:22-cv-01353-JWH-RAO Document 1 Filed 02/28/22 Page 3 of 10 Page ID #:3




   1         13.    Upon information and belief, Defendant has infringed and continues to
   2   infringe one or more claims, including at least Claim 1, of the ‘860 Patent by making,
   3   using (at least by having its employees, or someone under Defendant's control, test
   4   the accused Product), importing, selling, and/or offering for sale associated hardware
   5   and/or software for digital signature services (e.g., DocMagic Sign service), and any
   6   similar products and/or services (“Product”) covered by at least Claim 1 of the ‘860
   7   Patent. Defendant has infringed and continues to infringe the ‘860 patent either
   8   directly or through acts of contributory infringement or inducement in violation of 35
   9   U.S.C. § 271.
  10        14.        The Product provides a system for e-signatures. The Product provides
  11   for digitally verifying the identification of a sender. Certain aspects of this element
  12   are illustrated in the screenshot(s) below and/or in those provided in connection with
  13   other allegations herein.
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                                   COMPLAINT AGAINST DOCMAGIC, INC.
Case 2:22-cv-01353-JWH-RAO Document 1 Filed 02/28/22 Page 4 of 10 Page ID #:4




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  17         15. The Product includes at least one digital identification module structured
  18   to be associated with at least one entity. For example, the Product provides a module
  19   (e.g., e-signature creation module) to be associated with at least one entity (i.e., a user
  20   who needs to use a digital signature). Certain aspects of this element are illustrated in
  21   the screenshot(s) below and/or in those provided in connection with other allegations
  22   herein.
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                                   COMPLAINT AGAINST DOCMAGIC, INC.
Case 2:22-cv-01353-JWH-RAO Document 1 Filed 02/28/22 Page 5 of 10 Page ID #:5




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              16. The Product includes a module generating assembly structured to receive

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       at least one verification data element corresponding to the at least one (e.g., a user has

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       a unique login ID and password for accessing and verifying the account for e-signing

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       documents) and create said at least one digital identification module (e.g., creating an
                                                  5
                                   COMPLAINT AGAINST DOCMAGIC, INC.
Case 2:22-cv-01353-JWH-RAO Document 1 Filed 02/28/22 Page 6 of 10 Page ID #:6




   1   e-signature of a user). Certain aspects of this element are illustrated in the
   2   screenshot(s) below and/or in those provided in connection with other allegations
   3   herein.
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                                COMPLAINT AGAINST DOCMAGIC, INC.
Case 2:22-cv-01353-JWH-RAO Document 1 Filed 02/28/22 Page 7 of 10 Page ID #:7




   1         17. The at least one digital identification module is disposable within at least
   2   one electronic file. For example, the user can store the e-signature within a document
   3   or including PDF, WORD DOC, IMAGES, etc. Certain aspects of this element are
   4   illustrated in the screenshot(s) below and/or in those provided in connection with
   5   other allegations herein.
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   8         18.    The at least one digital identification module includes at least one
   9   primary component structured (e.g., an e-signature of a user is associated with
  10   information including username, etc.) to at least partially associate the digital
  11   identification module with the at least one entity (e.g., an e-signature is associated
  12   with a user, who has to sign digitally). Certain aspects of this element are illustrated
  13   in the screenshot(s) below and/or in those provided in connection with other
  14   allegations herein.
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                                   COMPLAINT AGAINST DOCMAGIC, INC.
Case 2:22-cv-01353-JWH-RAO Document 1 Filed 02/28/22 Page 8 of 10 Page ID #:8




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  14         19.    The at least one digital identification module is cooperatively structured

  15   to be embedded within only a single electronic file (e.g., an e-signature is stored within

  16   a document-including PDF, WORD DOC, IMAGES, etc.). Certain aspects of this

  17   element are illustrated in the screenshot(s) below and/or in those provided in connection

  18   with other allegations herein.

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                                  COMPLAINT AGAINST DOCMAGIC, INC.
Case 2:22-cv-01353-JWH-RAO Document 1 Filed 02/28/22 Page 9 of 10 Page ID #:9




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                             COMPLAINT AGAINST DOCMAGIC, INC.
Case 2:22-cv-01353-JWH-RAO Document 1 Filed 02/28/22 Page 10 of 10 Page ID #:10




    1         20.    Defendant’s actions complained of herein will continue unless Defendant
    2   is enjoined by this court.
    3         21.    Defendant’s actions complained of herein are causing irreparable harm
    4   and monetary damage to Plaintiff and will continue to do so unless and until Defendant
    5   is enjoined and restrained by this Court.
    6         22.    Plaintiff is in compliance with 35 U.S.C. § 287.
    7                                      JURY DEMAND
    8         23.    Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff
    9   respectfully requests a trial by jury on all issues so triable.
   10                                   PRAYER FOR RELIEF
   11         WHEREFORE, Plaintiff asks the Court to:
   12         (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
   13   asserted herein;
   14         (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
   15   employees, attorneys, and all persons in active concert or participation with Defendant
   16   who receive notice of the order from further infringement of United States Patent No.
   17   9,054,860 (or, in the alternative, awarding Plaintiff a running royalty from the time of
   18   judgment going forward);
   19         (c)    Award Plaintiff damages resulting from Defendant’s infringement in
   20   accordance with 35 U.S.C. § 284;
   21         (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
   22         (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
   23   entitled under law or equity.
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   25   Dated: February 28, 2022                 Respectfully submitted,
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                                                 /s/Stephen M. Lobbin
   27                                            Attorney(s) for Plaintiff
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                                     COMPLAINT AGAINST DOCMAGIC, INC.
